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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE:        Oil Spill by the Oil Rig                  §
              “Deepwater Horizon” in the Gulf           §
              of Mexico, on April 20, 2010              §    MDL No. 10-2179
                                                        §
                                                        §    SECTION “J”
                                                        §
                                                        §    JUDGE BARBIER
PERTAINS TO:                                            §    MAG. JUDGE SHUSHAN
Case No.: 2:10-cv-08888 (Doc. 64281)                    §
          2:10-cv-02771                                 §

                     ORDER GRANTING MOTION TO WITHDRAW

       THIS CAUSE came before the Court upon the law firm of Davis & Norris, LLP’s Motion

to Withdraw as attorney for Jo Ann Bingel and Dennis Bengel. The Court having read and

considered argument of counsel and being otherwise fully apprised on all premises, hereby

ORDERS AND ADJUDGES as follows:

       1.     Davis & Norris, LLP’s Motion to Withdraw as counsel for Jo Ann Bingel and

Dennis Bingel is hereby Granted.

       2.     Until alternative counsel files an appearance on Plaintiff’s behalf, all

correspondence and pleadings for the Plaintiff shall be mailed to: Jo Ann Bingel and Dennis

Bengel, 31146 Pine Run Drive, Orange Beach, AL. 36561.

       DONE AND ORDERED in Chambers, at New Orleans, Louisiana this ____ day of

______________________, 2012.


                                                     HONORABLE CARL J. BARBIER
                                                     U.S. DISTRICT COURT JUDGE
